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  6
  7                         UNITED STATES DISTRICT COURT

  8                       CENTRAL DISTRICT OF CALIFORNIA

  9
 10 MIGUEL HERNANDEZ,                               Case No.: 2:21-cv-02290 FMO (Ex)
                                                    Assigned to Hon. Fernando M. Olguin
 11                Plaintiff,
 12         vs.                                     NOTICE OF SETTLEMENT OF
                                                    ENTIRE CASE
 13 METROPOLITAN LIFE INSURANCE
 14 COMPANY; J.P. MORGAN CHASE
    NATIONAL CORPORATE
 15 SERVICES, INC.; and DOES 1 to 10,
 16           Defendants.
 17
 18
            Notice is hereby given that Plaintiff Miguel Hernandez ("Plaintiff") and
 19
      Defendants have settled the above-captioned matter as to the entire case. Parties
 20
      requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
 21
      to file dispositional documents in order to afford Parties time to complete settlement.
 22
 23    DATED: August 10, 2021                       SO. CAL EQUAL ACCESS GROUP

 24
 25
                                                          /s/ Jason J. Kim
 26                                                 JASON J. KIM
                                                    Attorney for Plaintiff
 27
 28

                                                           NOTICE OF SETTLEMENT OF ENTIRE CASE
